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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION
UNITED STATES OF AMERICA          §
                                  §
vs.                               §    NO: SA:17-CR-00814(1,2,3,6)-XR
                                  §
(1) FRANCISCO ENRIQUEZ            §
(2) SHANE MCDOUGAL                §
(3) JASON VILLA                   §
(6) ALFREDO ESPARZA JR.           §
                        ORDER GRANTING CONTINUANCE
                   AND AMENDING SCHEDULING ORDER

       On this day came on to be considered the Defendant's Jason Villa (3) Unopposed Motion

to Continue Scheduling Order Deadlines. There being no severance granted in this cause of

action, the Court finds that the co-defendant(s) Francisco Enriquez (1), Shane McDougal (2),

Alfredo Esparza, Jr. (6) shall proceed to trial with movant.

       The Court finds that the period between November 15, 2021 and February 28, 2022 is a

reasonable period of necessary delay when a defendant is joined for trial with a co-defendant and

no motion for severance has been granted in order for the defendant to negotiate a plea; and/or

prepare for trial. The Court finds that the Ends of Justice served by taking such action outweighs

the best interest of the public and the defendant in a speedy trial, and further finds that the above

period shall be excluded in computing the time in which said defendant must be brought to trial

under the Speedy Trial Act, pursuant to Title 18, United States Code, Section 3161(h)(7)(A).

       It is hereby ORDERED that Defendant’s Jason Villa (3) Unopposed Motion to

Continue (Doc. # 322) is GRANTED.

       It is FURTHER ORDERED that this case will proceed on the following-amended

schedule AS TO ALL DEFENDANTS LISTED ABOVE:

       The deadline for notifying the Court of any PLEA AGREEMENT entered into
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       by the parties in this cause is Friday, February 4, 2022. No plea agreement
       entered into after that date will be honored by this Court without good cause
       shown for the delay.

       DOCKET CALL or REARRAIGNMENT and PLEA are set for Thursday,
       February 17, 2022 at 1:30 P.M., in Courtroom H on the Third Floor of the
       United States Courthouse, 262 W. Nueva Street, San Antonio, Texas. Proposed
       jury instructions, voir dire, and motions in limine shall be filed by Friday,
       February 11, 2022.

       JURY SELECTION AND TRIAL are set for Monday, February 28, 2022 at
       9:30 A.M., in Courtroom H on the Third Floor of the United States Courthouse,
       262 W. Nueva Street, San Antonio, Texas.

       AS A REMINDER TO THE ATTORNEY FOR DEFENDANT:

       If your client is in custody, arrangements should be made with the U.S. Marshal Service

prior to the date of jury selection and trial to ensure your client has proper attire. In addition,

whenever defendants or witnesses have a need for the services of the Court Interpreter, please

notify the Courtroom Deputy no later than five (5) days before this court setting.

       The Clerk of Court shall send a copy of this order to the United States Attorney, attorney

for the defendant, United States Marshal, United States Probation Officer, and Pretrial Services

Officer. Counsel for defendant will notify the defendant of this setting, and if the defendant

is on bond, advise the defendant that he or she must be present for all court settings unless

excused by the Court. All inquiries pertaining to this Scheduling Order should be directed to

Sylvia Ann Fernandez, Courtroom Deputy for Judge Xavier Rodriguez, at (210) 244-5011.

       Signed this 27th day of October, 2021.


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                                                   XAVIER RODRIGUEZ
                                                   UNITED STATES DISTRICT JUDGE
